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                                                                            ALEXANDn'.^. Vi.SS''
 Vient, Plaintiff vs. Gannett Co., Inc., Defendant Case: 1:18:CV1562



  Motion to Correct Defendant's Discoverv Record

 Pro-se Plaintiff Motions here to Correct Defendant's Discovery Record for this
 case.


 On December 20, 2019, in response to Defendant's November 20, 2019
 Discovery Requests, Pro-se Plaintiff produced 27 Documents to Defendant.
 (Attached here as Exhibits.)

 It appears that Defendant did not include these 27 Documents in Defendant's
 Motions regarding assertions to the Court about Plaintiffs Discovery production,
 (see Defendant's Doc. 105 Exhibits A through M).

 In a Court Hearing on February 7, 2020, Defendant asserted that Exhibit E of Doc.
 105 represents all of Plaintiff's responsive documents to Defendant's discovery
 requests. This is therefore inaccurate, as Exhibit E does not include these 27
 Documents.

 These 12/20/19 Documents (Exhibits attached here) evidence usage by the
 Lebanon Daily News and/or Florida Today of Plaintiff's registered works listed in
 this case.

 Plaintiff has requested details of this usage from Defendant in Plaintiffs Discovery
 Requests. (And before this ever became a case, when Plaintiff hoped to resolve
 amicably between parties.) To date. Defendant has not answered these Discovery
 requests, thus necessitating the Motion to Compel,filed contemporaneously here.


 Respectfully submittej^,
 Benjamin Vient, Plaintiff Pro-Se
 CERTIFICATE OF MAILING I HEREBY CERTIFY that on 2020, per
 previous agreement between parties to use designated email addresses, I sent a
 true and correct copy of the foregoing to Laurin Mills at laurin@samek-law.com.
                    Benjamin Vient
